               Case 21-59061-wlh                  Doc 1     Filed 12/06/21 Entered 12/06/21 15:39:18                              Desc Main
                                                            Document      Page 1 of 9

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Modo Properties, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  628 Fussell Road                                                107 Millstone Court
                                  Leesburg, GA 31763                                              Leesburg, GA 31763
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Lee                                                             Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                 Case 21-59061-wlh                 Doc 1         Filed 12/06/21 Entered 12/06/21 15:39:18                                 Desc Main
                                                                 Document      Page 2 of 9
Debtor    Modo Properties, LLC                                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                 Case 21-59061-wlh                     Doc 1         Filed 12/06/21 Entered 12/06/21 15:39:18                                 Desc Main
                                                                     Document      Page 3 of 9
Debtor    Modo Properties, LLC                                                                            Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Magnolia Pet Resort & Spa, LLC                                Relationship               Affiliate
                                                                 Northern District of
                                                     District    Georgia                When 12/06/21                          Case number, if known      21-59059


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                Case 21-59061-wlh         Doc 1         Filed 12/06/21 Entered 12/06/21 15:39:18                     Desc Main
                                                        Document      Page 4 of 9
Debtor   Modo Properties, LLC                                                          Case number (if known)
         Name


16. Estimated liabilities       $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
                 Case 21-59061-wlh              Doc 1        Filed 12/06/21 Entered 12/06/21 15:39:18                                Desc Main
                                                             Document      Page 5 of 9
Debtor    Modo Properties, LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 6, 2021
                                                  MM / DD / YYYY


                             X   /s/ Alfred Jackson Odom, IV                                              Alfred Jackson Odom, IV
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X   /s/ William A. Rountree                                                   Date December 6, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 William A. Rountree
                                 Printed name

                                 Rountree, Leitman & Klein, LLC
                                 Firm name

                                 Century Plaza I
                                 2987 Clairmont Road, Ste 350
                                 Atlanta, GA 30329
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-584-1238                  Email address      swenger@rlklawfirm.com

                                 616503 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
                    Case 21-59061-wlh                      Doc 1      Filed 12/06/21 Entered 12/06/21 15:39:18                                         Desc Main
                                                                      Document      Page 6 of 9

 Fill in this information to identify the case:
 Debtor name Modo Properties, LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AB & T                                             104 Veterinary     Contingent                                $3,076,467.86                         $0.00          $3,076,467.86
 2815 Merdyth Drive              joe.pierce@abtgold Way,               Unliquidated
 Albany, GA 31707                .com               Leesburg Georgia Disputed
                                                    31763 and cross -
                                                    Collateralized 628
                                                    Fussell Road,
                                                    Leesburg,
                                                    Georgia, 31763
 Alfred Jackson                                     Lease                                                                                                                 $17,000.00
 Odom, IV
 107 Millstone Court
 Leesburg, GA 31763
 Lee County Tax                                                                                                                                                                   $0.00
 Commisioner's       fax 229 759-6041
 Office, PO Box 9
 100 Starksville Ave
 North
 Leesburg, GA 31763




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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             Case 21-59061-wlh                        Doc 1          Filed 12/06/21 Entered 12/06/21 15:39:18           Desc Main
                                                                     Document      Page 7 of 9




                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Modo Properties, LLC                                                                        Case No.
                                                                                   Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 6, 2021                                           /s/ Alfred Jackson Odom, IV
                                                                        Alfred Jackson Odom, IV/Owner
                                                                        Signer/Title




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    Case 21-59061-wlh   Doc 1   Filed 12/06/21 Entered 12/06/21 15:39:18   Desc Main
                                Document      Page 8 of 9


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                        AB & T
                        2815 Merdyth Drive
                        Albany, GA 31707



                        Alfred Jackson Odom, IV
                        107 Millstone Court
                        Leesburg, GA 31763



                        Georgia Department of Revenue
                        1800 Centrury Center Blvd
                        Suite 9100
                        Atlanta, GA 30345



                        Internal Revenue Service
                        PO Box 7346
                        Philadelphia, PA 19101



                        Lee County Tax Commisioner's
                        Office, PO Box 9
                        100 Starksville Ave North
                        Leesburg, GA 31763



                        Watson Spence LLP
                        320 Residence Avenue
                        PO Box 2008
                        Albany, GA 31702
             Case 21-59061-wlh                        Doc 1          Filed 12/06/21 Entered 12/06/21 15:39:18             Desc Main
                                                                     Document      Page 9 of 9



                                                               United States Bankruptcy Court
                                                                     Northern District of Georgia
 In re      Modo Properties, LLC                                                                          Case No.
                                                                                   Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Modo Properties, LLC in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 December 6, 2021                                                     /s/ William A. Rountree
 Date                                                                 William A. Rountree
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Modo Properties, LLC
                                                                      Rountree, Leitman & Klein, LLC
                                                                      Century Plaza I
                                                                      2987 Clairmont Road, Ste 350
                                                                      Atlanta, GA 30329
                                                                      404-584-1238 Fax:404 704-0246
                                                                      swenger@rlklawfirm.com




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